     Case: 1:23-cv-01154 Document #: 28 Filed: 10/05/23 Page 1 of 3 PageID #:314




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

TRAVELERS CASUALTY INSURANCE                          )
COMPANY OF AMERICA,                                   )
                                                      )   Case No: 1:23-cv-01154
                                Plaintiff,            )
        vs.                                           )   Hon. Sara L. Ellis
                                                      )
WESTWARD MANAGEMENT, INC.,                            )
KENMORE CLUB CONDOMINIUM                              )
ASSOCIATION, HARRY CHANNON and                        )
DAWN CHANNON,                                         )
                                                      )
                            Defendants.               )

                       JOINT MOTION FOR STAY OF DISCOVERY

        NOW COME Defendant WESTWARD MANAGEMENT, INC. (“Westward”), by and

through its attorneys, JAMES M. WECK, ILENE M. KOREY and CLAUSEN MILLER P.C.,

and Plaintiff TRAVELERS CASUALTY INSURANCE COMPANY OF AMERICA, by and

through its attorney, JOHN P. O’MALLEY and KARBAL, COHEN, ECONOMOU, SILK &

DUNNE, LLC and move this Honorable Court for an Order staying discovery pursuant to

Federal Rule of Civil Procedure 26, and in support thereof, states follows:

        1.     Plaintiff filed its Amended Complaint for Declaratory Judgment on June 23,

2023.

        2.     Defendant Westward filed its Answer to the Amended Complaint for Declaratory

Judgment on August 7, 2023.

        3.     In the underlying suit from which this Declaratory Judgment claim arises, Harry

Channon and Dawn Channon v. Westward Management, Inc., pending in the Circuit Court of

Cook County, Chancery Division, Illinois, Case No. 2019 CH 04869, a Motion to Dismiss the

Plaintiffs’ Amended Complaint was filed on May 23, 2023.



10094837.1
     Case: 1:23-cv-01154 Document #: 28 Filed: 10/05/23 Page 2 of 3 PageID #:315




         4.     A Response brief to the Defendant’s Motion to Dismiss in the underlying suit was

filed on July 28, 2023, and a Reply brief was filed on August 15, 2023. The court has ordered the

parties to appear in Court on October 30, 2023 where it will issue an Opinion and Ruling on the

fully briefed Motion to Dismiss.

         5.     This Court entered a discovery schedule for this matter setting fact discovery to

close on December 1, 2023.

         6.     That as a result of the pending Motion to Dismiss in the underlying suit,

Defendant and Plaintiff request that this Court stay the current discovery schedule until a ruling

is made on the Motion to Dismiss in the underlying suit.

         7.     That under Federal Rule of Civil Procedure 26, this Court has discretion to

limit the scope of discovery or to order that discovery be conducted in a particular sequence.

Tamburo v. Dworkin, No. 04 C 3317, 2010 U.S. Dist. LEXIS 121510, at *3 (N.D. Ill. Nov. 17,

2010).

         8.     That a stay of the current discovery schedule is appropriate in this matter as the

pending Motion to Dismiss in the underlying suit could eliminate any controversy of the claims

being brought in this suit, if granted.

         9.     The movants bring this motion in good faith and not for purposes of delay. No

party will be prejudiced by this request to stay discovery until a ruling on the pending Motion to

Dismiss in the underlying suit is made.

         WHEREFORE, Defendant WESTWARD MANAGEMENT, INC. and Plaintiff

TRAVELERS CASUALTY INSURANCE COMPANY OF AMERICA, respectfully request




                                                2
10094837.1
     Case: 1:23-cv-01154 Document #: 28 Filed: 10/05/23 Page 3 of 3 PageID #:316




that this Honorable Court enter the following order staying discovery until after October 30,

2023 and for such other relief as deemed fair and just.


                                                 James M. Weck
                                                 James M. Weck
                                                 Ilene M. Korey
                                                 CLAUSEN MILLER P.C.
                                                 10 South LaSalle Street
                                                 Chicago, Illinois 60603
                                                 Tel: (312) 855-1010
                                                 jweck@clausen.com
                                                 ikorey@clausen.com
                                                 Attorneys for Defendant Westward Management,
                                                 Inc.




                                                 3
10094837.1
